                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE

 BRANDON L. MILLER,                                          )
                                                             )
                  Petitioner,                                )
                                                             )
 v.                                                          )        Nos.     2:11-CR-81
                                                             )                 2:13-CV-245
 UNITED STATES OF AMERICA,                                   )
                                                             )
                  Respondent.                                )


                                    MEMORANDUM AND ORDER

         Before the Court is a “Petition Under 28 USC § 2255 To Vacate, Set Aside, Or Correct

 Sentence By A Person In Federal Custody,” [Doc. 764] 1, filed by Brandon L. Miller (“Miller” or

 “petitioner”).2 The petitioner has filed a supporting memorandum, [Doc. 765], the government

 has responded in opposition, [Doc. 797], and petitioner has replied to the government’s response.

 [Doc. 842]. The matter is now ripe for disposition. The Court has concluded that the files and

 records in the case conclusively establish that petitioner is not entitled to relief under § 2255 and

 no evidentiary hearing is required. Because Miller’s petition is time barred, it will be DENIED.

 I. Procedural and Factual Background

         Miller was charged, along with twenty co-defendants, in an indictment returned by a

 federal grand jury on September 13, 2011. [Doc. 3]. In Count Three, he was charged with

 conspiracy to distribute and possess with the intent to distribute oxycodone in violation of 21

 U.S.C. §§ 846 and 841(a)(1). In Count Forty-Three, Miller was charged with distribution of

 oxycodone in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). He ultimately pled guilty to

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   All citations to the record are found on the docket of Case No. 2:11-CR-81.
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   Miller also has a pending motion and supplemental motion for reduction of sentence pursuant to Amendments 782
 and 788 to the United States Sentencing Guidelines, [Doc. 909]. The government has responded, acknowledging that
 Miller is eligible for a reduction. That motion will be addressed in a separate order.

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 Count Three on December 15, 2011, [see Doc. 373], pursuant to a negotiated plea agreement,

 [Doc. 229], and was sentenced on April 23, 2012 to a 96 month term of imprisonment. [See Doc.

 546]. Judgment was entered on May 2, 2012. [Doc.561]. No appeal was taken. The instant §

 2255 motion was filed on September 30, 2013. [Doc. 764].

        Miller’s plea agreement contains the following stipulation of facts:

               Through the testimony of several witnesses, including co-
               conspirators, the United States would demonstrate, beyond a
               reasonable doubt, that between January of 2010 and November of
               2010, in the Eastern District of Tennessee and elsewhere, the
               defendant did knowingly, intentionally, and without authority,
               conspire with at least one other person to distribute and to possess
               with the intent to distribute approximately 1,260 (30 milligram)
               oxycodone pills and 630 (15 milligram) oxycodone pills, a
               Schedule II controlled substance.

               During the conspiracy, the defendant and several co-defendants
               and co-conspirators traveled to various pain clinics in Florida
               where they would obtain prescriptions for 30 milligram and 15
               milligram oxycodone pills which they would fill in either Florida
               or Georgia. The defendant and co-defendants would then use and
               sell the rest of the pills in the Eastern District of Tennessee.

               On March 16, 2010, in intercepted telephone calls, the defendant
               spoke to co-defendant McMahan while the defendant and a co-
               defendant were in Florida obtaining oxycodone pills. During the
               conversation, McMahan told the defendant to come back with
               what they have.

               On March 20, 2010, in intercepted telephone calls, the defendant
               left a message for co-defendant McMahan. In the message, the
               defendant said that he had messed up his dates and that he needed
               to leave today.       The defendant admits that he was leaving
               to return to Florida to obtain additional oxycodone pills which
               he would bring back to the Eastern District of Tennessee for
               distribution and personal use.

               On September 2, 2010, the defendant and co-defendant Teny
               Miller were stopped by the Jefferson County Sheriff s Office.
               During the stop, officers found 65 (15 milligram) oxycodone
               pills and 240 (30 milligram) oxycodone pills.


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                On November 12, 2010, the defendant was arrested in Newport
                after passing out at a Pizza Hut. Officers found 100 (30
                milligram) oxycodone pills and 64 (15 milligram) oxycodone
                pills on his person. The defendant admits that he intended to
                distribute these pills to others.

                The defendant admits that he traveled to Florida approximately
                seven times between January of 2010 and November of 2010
                to obtain an average of 180 (30 milligram) oxycodone pills and
                90 (15 milligram) oxycodone pills. The defendant admits that
                he used some of the pills, and that he distributed the rest.

                Conservatively, the defendant admits responsibility for 1,260
                (30 milligram) oxycodone pills and 630 (15 milligram)
                oxycodone pills, which is the equivalent of approximately 317
                kilograms of marijuana.


 [Doc. 229].

 II. Standard of Review

        This Court must vacate and set aside petitioner’s sentence if it finds that “the judgment

 was rendered without jurisdiction, or that the sentence imposed was not authorized by law or

 otherwise open to collateral attack, or that there has been such a denial or infringement of the

 constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .”

 28 U.S.C. § 2255.      Under Rule 4 of the Governing Rules, the Court is to consider initially

 whether the face of the motion itself, together with the annexed exhibits and prior proceedings in

 the case, reveal the movant is not entitled to relief. If it plainly appears the movant is not entitled

 to relief, the court may summarily dismiss the § 2255 motion under Rule 4.

        When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

 Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733, 735 (6th

 Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability of verity,

 are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A motion



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 that merely states general conclusions of law without substantiating allegations with facts is

 without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

 Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

        To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error must be

 one of constitutional magnitude which had a substantial and injurious effect or influence on the

 proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (citation omitted) (§ 2254 case);

 Clemmons v. Sowders, 34 F. 3d 352, 354 (6th Cir. 1994). See also United States v. Cappas, 29

 F.3d 1187, 1193 (7th Cir. 1994) (applying Brecht to a § 2255 motion). If the sentencing court

 lacked jurisdiction, then the conviction is void and must be set aside. Williams v. United States,

 582 F. 2d 1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-

 constitutional error, petitioner must show a fundamental defect in the proceeding that resulted in a

 complete miscarriage of justice or an egregious error inconsistent with the rudimentary demands

 of fair procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v. United States, 72 F. 3d 503,

 506 (6th Cir.), cert. denied, 517 U.S. 1200 (1996). In order to obtain collateral relief under §

 2255, a petitioner must clear a significantly higher hurdle than would exist on direct appeal.

 United States v. Frady, 456 U.S. 152 (1982).

 III. Analysis

        Miller’s petition raises three issues, which he states as follows:

                 I.   PETITIONER IS ENTITLED TO EQUITABLE
                 TOLLING TIME DUE TO EXTRAORDINARY EXCEPTIONAL
                 CIRCUMSTANCES

                 II.  DEFENSE COUNSEL MARK S. HANOR WAS
                 INEFFECTIVE ASSISTANCE OF COUNSEL WHEN HE
                 FAILED TO FILE A REQUESTED APPEAL

                 III. ATTORNEY MARK S. HANOR WAS INEFFECTIVE
                 ASSISTANCE OF COUNSEL WHEN HE FAILED TO OBJECT


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                TO, MITIGATE AND RAISE ON DIRECT APPEAL THE USE
                OF PRIOR CONVICTIONS IN DEFENDANT’S CRIMINAL
                HISTORY CHART THAT DID NOT QUALIFIED [SIC] FOR
                ENHANCEMENT

 [Doc. 765 at 2].

        Petitioner acknowledges that he filed his petition seventeen months after the entry of the

 judgment but asserts he is entitled to equitable tolling because he acted diligently in filing his §

 2255 petition after he realized counsel had not filed his requested notice of appeal.           The

 government responds that the petition is untimely and that petitioner has not established grounds

 for equitable tolling. Even if not untimely, the government asserts that petitioner’s claims are

 meritless. Because the Court finds that the petition is clearly untimely, it will not address the

 petition on the merits.

        The Antiterrorism and Effective Death Penalty Act (“AEDPA”) contains a one-year

 period of limitations for § 2255 motions which generally runs from “the date on which the

 judgment of conviction became final.” 28 U.S.C. § 2255(f)(1). “When a federal criminal

 defendant does not appeal to the court of appeals, the judgment becomes final upon the

 expiration of the period in which the defendant could have appealed to the court of appeals, even

 when no notice of appeal was filed.” Sanchez-Castellano v. United States, 358 F.3d 424, 426-27

 (6th Cir. 2004) (citing United States v. Cottage, 307 F.3d 494, 498 (6th Cir. 2002)). At the time

 relevant to this suit, that period was 14 days after the entry of judgment. See Fed. R. App. P.

 4(b)(1)(A)(2012). In Miller’s case then, the limitations period begin to run on May 17, 2012

 and expired on May 17, 2013, more than four months before Miller’s petition was filed.

        The Supreme Court has held that equitable tolling of a statute of limitation is available

 “in appropriate cases.” Holland v. Florida, 560 U.S. 631 (2010). Petitioner has the burden of

 demonstrating that he is entitled to equitable tolling. Allen v. Yukins, 366 F.3d 396, 401 (6th Cir.


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 2004) (citations omitted).    “A habeas petitioner is entitled to equitable tolling only if two

 requirements are met. First, the petitioner must establish ‘that he has been pursuing his rights

 diligently.’ And second, the petitioner must show ‘that some extraordinary circumstance stood in

 his way and prevented timely filing.’” Hall v. Warden, Lebanon Correctional Institution, 662

 F.3d 745, 749 (6th Cir. 2011) (quoting Holland v. Florida, 560 U.S. 649). “The doctrine of

 equitable tolling is applied sparingly by federal courts,” and is typically used “only when a

 litigant’s failure to meet a legally-mandated deadline unavoidably arose from circumstances

 beyond that litigant’s control.” Vroman v. Brigano, 346 F.3d 598, 604 (6th Cir. 2013) (citations

 and internal quotation marks omitted).

        Petitioner makes several allegations that, according to him, entitle him to equitable

 tolling: (1) His attorney never responded when he asked for information about his appeal even

 though he “contacted his people” to call counsel, “but with no prevail,” and wrote to counsel “a

 couple of times;” (2) he requested, but never received, copies of his case file from his attorney;

 (3) he is not an attorney and “should not be held to the same standard of an attorney;” and (4) he

 “did not know law” and “had to study.” None of these claims satisfy the requirement for the

 limitations period to be equitably tolled. That petitioner is not an attorney and did not know the

 law makes no difference. The Sixth Circuit “has repeatedly held that ignorance of the law alone

 is not sufficient to warrant equitable tolling.” Allen, 366 F.3d at 403 (citation and internal

 quotation marks omitted). Likewise, attorney error is an inadequate justification for equitable

 tolling in this circuit. See Jurado v. Burt, 337 F.3d 638, 644-45 (6th Cir. 2003); Elliott v. DeWitt,

 10 Fed. App’x 311, 313 (6th Cir. 2001) (“[A]n attorney’s mistake which results in missing the

 filing deadline imposed by the AEDPA is not a basis for equitable tolling.”). Even if the

 circumstances could somehow be characterized as “extraordinary” and somehow prevented



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 timely filing, it is very clear on this record that Miller was not diligent in the pursuit of his rights.

 Assuming that Miller’s attorney did not accept or return his “people’s” phone calls or answer his

 two letters, he made no attempt to contact this Court or the Sixth Circuit about the status of his

 case. He was aware, because he was informed by the Court at the end of his sentencing hearing,

 that he had 14 days within which to file a notice of appeal. A simple phone call to the clerk of

 this Court would have informed him that no notice of appeal had been filed. He did not request

 the assistance of the Court in any way. Furthermore, he makes no attempt to show why it took

 more than a year of “study” to learn the deadline for the filing of the § 2255 motion. In short,

 Miller falls far short of meeting his burden of demonstrating that he is entitled to equitable

 tolling and his petition is barred by the AEDPA’s one-year limitations period.

 IV. Conclusion

         For the reasons set forth above, the Court holds that petitioner’s sentencing was not in

 violation of the constitution or laws of the United States and his motion to vacate, set aside or

 correct his sentence pursuant to 28 U.S.C. § 2255 is DENIED.

         Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

 appealability should be granted. A certificate should issue if petitioner has demonstrated a

 “substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

 Circuit Court of Appeals disapproves of the issuance of blanket denials of a certificate of

 appealability. Murphy v. Ohio, 263 F. 3d 466 (6th Cir. 2001). The District Court must “engage

 in a reasoned assessment of each claim” to determine whether a certificate is warranted. Id. at

 467. Each issue must be considered under the standard set forth by the Supreme Court in Slack

 v. McDaniel, 529 U.S. 473, 120 S. Ct. 1595 (2000). Id.




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         Under Slack, to warrant a grant of the certificate, “[t]he petitioner must demonstrate that

 reasonable jurists would find the district court’s assessment of the constitutional claims debatable

 or wrong.” After reviewing each of Petitioner’s claims, the Court finds that reasonable jurists

 could not conclude that petitioner’s claims are adequate to deserve further review. Because

 petitioner has failed to make a substantial showing of the denial of a constitutional right, a

 certificate of appealability will not issue.

         A separate judgment will enter.

         ENTER:



                                                                       s/J. RONNIE GREER
                                                                 UNITED STATES DISTRICT JUDGE




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